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                        UNITED STATES COURT OF APPEALS
                             FOR THE THIRD CIRCUIT
                                  ___________

                                        No. 24-2802
                                        __________

                                  GREGORY JANICKI,
                                                          Appellant

                                             v.

    WASHINGTON TOWNSHIP BOARD OF EDUCATION, 2019-MARCH 2022;
    JOSEPH N. BOLLENDORF; SHAWNEQUA CARVALHO; PAUL ESPOSITO;
       VIRGINIA MURPHY; CANDACE ZACHOWSKI; DANIELLE HALPIN;
  KAREN GARRISON; RENEE POLLARD; RAYMOND DINOVI; JULIE KOZEMPEL;
     JANINI WECHTER; BRIAN ELLIS; ELAYNE CLANCY; CONNIE BAKER;
         NATALIE BEURY; STACEY DIMEO; KATHLEEN GALLINARO;
                  JONATHAN STROUT; JOSEPH BETLEY
                  ____________________________________

                      On Appeal from the United States District Court
                                for the District of New Jersey
                         (D.N.J. Civil Action No. 1:22-cv-04389)
                       District Judge: Honorable Karen M. Williams
                       ____________________________________

                     Submitted Pursuant to Third Circuit LAR 34.1(a)
                                     June 6, 2025

      Before: HARDIMAN, MONTGOMERY-REEVES, and CHUNG, Circuit Judges
                              ___________

                                       JUDGMENT
                                       ___________

         This cause came to be considered on the record from the United States District
  Court for the District of New Jersey and was submitted pursuant to Third Circuit LAR
  34.1(a) on June 6, 2025. On consideration whereof, it is now hereby
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         ORDERED and ADJUDGED by this Court that the judgment of the District Court
  entered September 20, 2024, be and the same is hereby affirmed. Costs taxed against the
  Appellant. All of the above in accordance with the opinion of this Court.


                                                 ATTEST:


                                                 s/ Patricia S. Dodszuweit
                                                 Clerk
  Dated: June 10, 2025
